             Case 1:14-cr-00281-CMA Document 4 Filed 07/03/14 USDC Colorado Page 1 of 1

AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                        District
                                                 __________      of Colorado
                                                            District  of __________

                  United States of America
                             v.                                     )
                                                                    )        Case No.    14-cr-00281-CMA
                                                                    )
                       RENEE MOLINAR                                )
                                                                    )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Renee Molinar                                                                                       ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment         u Information        u Superseding Information             u Complaint
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Conspiracy to Defraud the United States. (18 U.S.C. §§ 371)




Date:         07/03/2014                                                                 s/A. Thomas, Deputy Clerk
                                                                                           Issuing officer’s signature

City and state:       Denver, Colorado                                                Jeffrey P. Colwell, Clerk of Court
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
